 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 1 of 11 Page ID #:1793



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7                                       UNITED STATES DISTRICT COURT

8                                  CENTRAL DISTRICT OF CALIFORNIA

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10   RICHARD WASHINGTON,                           )   Case No. CV 18-1770 FMO (AFMx)
                                                   )
11                         Plaintiff,              )
                                                   )
12                 v.                              )   ORDER RE: CROSS-MOTIONS FOR
                                                   )   SUMMARY JUDGMENT
13   RITTER, LIEN SALES, INC., et al.,             )
                                                   )
14                         Defendants.             )
                                                   )
15

16          Having reviewed and considered all the briefing filed in connection with plaintiff Richard

17   Washington’s (“Washington” or “plaintiff”) Motion for Summary Judgment or Alternatively Partial

18   Summary Judgment; and Cross Motion for Summary Judgment (Dkt. 53, “Plf. Motion”), and

19   defendant Acquirecorp’s Norwalk Auto Auction’s (“Norwalk” or “defendant”) Cross-Motion for

20   Summary Judgment or Partial Summary Judgment (Dkt. 54, “Def. Motion”), the court finds that

21   oral argument is not necessary to resolve the Motions, see Fed. R. Civ. P. 78; Local Rule 7-15;

22   Willis v. Pac. Mar. Ass’n, 244 F.3d 675, 684 n. 2 (9th Cir. 2001), and concludes as follows.

23                                             INTRODUCTION

24          On March 1, 2018, plaintiff filed a complaint against Norwalk and Ritter, Lien Sales, Inc.

25   (“Ritter”), asserting claims for (1) violations of the California Identity Theft Act (“CITA”), Cal. Civ.

26   Code §§ 1798.93, et seq.; (2) violations of the Fair Debt Collection Practices Act (“FDCPA”), 15

27   U.S.C. §§ 1692, et seq.; (3) replevin (“claim and delivery”); (4) conversion; and (5) trespass to

28   chattels in connection with the repossession of plaintiff’s vehicle. (See Dkt. 1, Complaint at ¶¶ 58-
 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 2 of 11 Page ID #:1794



1    85). A few weeks later, plaintiff filed the First Amended Complaint (“FAC”), the operative

2    complaint, asserting the same claims, and adding a claim for violation of the Rosenthal Fair Debt

3    Collection Practices Act (“RFDCPA”), Cal. Civ. Code §§ 1788, et seq.1 (See Dkt. 15, FAC at ¶¶

4    74-105). Plaintiff alleges that he is a victim of identity theft, (see id. at ¶ 1), and that after he

5    notified defendant of this on December 29, 2017, defendant should have immediately returned

6    his repossessed vehicle. (See id. at ¶¶ 1-8). Defendant did not immediately return the vehicle,

7    and instead sought unpaid storage costs. (See id. at ¶¶ 2-6).

8              Norwalk filed an Answer and Counterclaim, (see Dkt. 24), and following the court’s granting

9    of plaintiff’s motion to dismiss the counterclaims and strike affirmative defenses, (see Dkt.35,

10   Court’s Order of May 21, 2018, at 2), filed its First Amended Answer to First Amended Complaint

11   and Counter-Claim. (Dkt. 36, “Answer & CC”). Plaintiff filed a responsive pleading to the Answer

12   & CC. (See Dkt. 37). Plaintiff seeks partial summary judgment with respect to all claims except

13   the claim for replevin. (See Dkt. 53, Plf. Motion at 1). Defendant seeks partial summary judgment

14   as to plaintiff’s FDCPA and RFDCPA claims, as well as a declaration that it had a lien on plaintiff’s

15   vehicle. (See Dkt. 54, Def. Motion at 2).

16                                         STATEMENT OF FACTS2

17             Plaintiff’s vehicle was repossessed on March 25, 2016, at the direction of non-party, City

18   Title Loan, LLC (“City Title”). (Dkt. 53-8, Joint Statement of Uncontroverted Facts (“SUF”) at ¶ 30;

19   Dkt. 56-1, Statement of Genuine Dispute (“SGD”) at ¶ 30; see also Dkt. 15, FAC at ¶ 1 (identifying

20   City Title)). On April 4, 2016, City Title had the vehicle, a 2012 Toyota, towed to Norwalk. (Dkt.

21   56-1, SGD at ¶ 31; Dkt. 53-2, Declaration of Bill Corbett (“Corbett Decl.”) at ¶¶ 6, 10).

22   I.        2016 ACTION.

23             On April 4, 2016, plaintiff filed a lawsuit against City Title and several other defendants,

24   including All American Recovery, Inc. (“All American Recovery”) arising from the repossession of

25
          1
26            Plaintiff subsequently dismissed Ritter. (See Dkt. 21, Notice of Voluntary Dismissal).
          2
27        Unless otherwise noted, the facts are undisputed, contain disputes that are not material, or
     are provided for background. In addition, to the extent the court relies on evidence objected to
28   by the parties, their objections are overruled.

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 3 of 11 Page ID #:1795



1    his vehicle. (See Richard Washington v. City Title Loan, LLC, et al., CV 16-5427 FMO (AFMx)

2    (“Washington I” or “2016 Action”)). The operative complaint in that action asserted the same

3    claims that are asserted in this action, with the exception of the claim for replevin. (Compare

4    Washington I, Dkt. 51, First Amended Complaint at ¶¶ 60-84 with Dkt. 15, FAC at ¶¶ 74-105). In

5    Washington I, plaintiff alleged that All American Recovery was a “vehicle repossession

6    company[,]” (id. at ¶ 46), that repossessed plaintiff’s vehicle at City Title’s direction, and the

7    vehicle “remain[ed] in the custody and/or control of American Recovery through the date” the

8    action was filed. (Id. at ¶ 44, 48).

9           On October 13, 2016, as part of its initial disclosures in the 2016 Action, City Title produced

10   an April 4, 2016, letter from City Title to All American Recovery,(Dkt. 56-1, SGD at ¶¶ 33-34),

11   directing All American Recovery to “release the vehicle . . . to Norwark[.]” (Dkt. 53-7, Exh. 16).

12   Despite plaintiff’s knowledge as of October 13, 2016, that his vehicle was being stored by

13   Norwalk, plaintiff did not seek to add Norwalk as a defendant in Washington I. (See, generally,

14   Washington I, Dkt.).

15          On February 26, 2018, after City Title defaulted in the 2016 Action, the court entered

16   default judgment against it. (See Washington I, Dkt 109, Court’s Order of February 26, 2018; Dkt.

17   110, Judgment).

18   II.    INSTANT ACTION.

19          On December 29, 2017, approximately two months before the court entered default

20   judgment against City Title in the 2016 Action, (see Washington I, Dkt. 109), plaintiff sent a

21   “dispute” letter to Norwalk. (Dkt. 53-8, SUF at ¶ 2; Dkt. 53-2, Exh. 1, “Dispute Letter”)). The

22   Dispute Letter stated that plaintiff was “the victim of fraud and identity theft” and that his “car was

23   wrongly repossessed and is now stored with [Norwalk].” (Dkt. 53-2, Exh. 1, Dispute Letter).

24   Plaintiff stated that he would not be paying any debts, including “the daily storage fees” and

25   “demand[ed] the release and return of [his] vehicle immediately.” (Id.). Plaintiff attached a police

26   report, text messages between plaintiff and a DMV investigator, a DMV document entitled Lien

27   Satisfied/Legal Owner/Title Holder Release, Secretary of State Information for Extreme Loyalty

28   Inc., and account notes from City Title Loan, the latter of which included a notation stating that

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 4 of 11 Page ID #:1796



1    “[t]his is a fraud account associated with Extreme Loyalty Inc.” (Dkt. 53-8, SUF at ¶¶ 4-9; Dkt. 53-

2    2, Exh. 1, Dispute Letter at APP 31- 53). Norwalk received the Dispute Letter on January 4, 2018.

3    (Dkt. 53-8, SUF at ¶ 3).

4           On February 27 and 28, 2018, plaintiff’s counsel, Wayne Sinnett, spoke with David Aker,

5    Norwalk’s controller, regarding this matter.       (See Dkt. 53-8, SUF at ¶¶ 19-20; Dkt. 53-2,

6    Declaration of David Aker (“Aker Decl.”) at ¶¶ 2, 7). Norwalk’s position was that $8,340 in storage

7    fees were due, calculated at $12 per day for 695 days. (See Dkt. 53-6, Exh. 11, February 28,

8    2019, email; Dkt. 56-1, SGD at ¶ 26). On February 28, 2018, Aker asked Sinnett to “re-send the

9    documents so that [Norwalk] may review.” (Dkt. 53-6, February 28, 2019, email). Instead of

10   sending the documents, plaintiff filed the instant action the next day, (see Dkt. 1, Complaint), and

11   Norwalk was served with the Complaint on March 6, 2018. (See Dkt. 14, Proof of Service).

12   Norwalk continued to seek the collection of the storage fees from plaintiff. (Dkt. 53-8, SUF at ¶¶

13   3, 22-23). For instance, on March 12, 2018, Aker called plaintiff directly regarding the storage

14   fees. (See Dkt. 53-2, Declaration of Richard Washington (“Washington Decl.”) at ¶¶ 10-12; Dkt.

15   56-1, SGD at ¶ 27; Dkt. 53-2, Aker Declaration at ¶¶ 11-13). The purpose of the call was to

16   negotiate the storage fees. (Dkt. 56-1, SGD at ¶ 28; Dkt. 53-2, Aker Decl. at ¶ 13).

17          On March 1, 2018, Norwalk was granted authorization from the Department of Motor

18   Vehicles to conduct a lien sale of plaintiff’s vehicle. (Dkt. 53-8, SUF at ¶ 25: Dkt. 53-6, Exh. 8,

19   March 1, 2018, DMV authorization to conduct a lien sale). However, Norwalk did not go forward

20   with the lien sale. (Dkt. 53-2, Aker Decl. at ¶ 18). After consulting with counsel, Norwalk released

21   the vehicle to plaintiff on April 6, 2018. (See id.).

22                                           LEGAL STANDARD

23          Rule 56(a) of the Federal Rules of Civil Procedure authorizes the granting of summary

24   judgment “if the movant shows that there is no genuine dispute as to any material fact and the

25   movant is entitled to judgment as a matter of law.” The standard for granting a motion for

26   summary judgment is essentially the same as for granting a directed verdict. See Anderson v.

27   Liberty Lobby, Inc., 477 U.S. 242, 250, 106 S.Ct. 2505, 2511 (1986). Judgment must be entered

28   “if, under the governing law, there can be but one reasonable conclusion as to the verdict.” Id.

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 5 of 11 Page ID #:1797



1           The moving party has the initial burden of identifying relevant portions of the record that

2    demonstrate the absence of a fact or facts necessary for one or more essential elements of each

3    cause of action upon which the moving party seeks judgment. See Celotex Corp. v. Catrett, 477

4    U.S. 317, 323, 106 S.Ct. 2548, 2553 (1986) (“Celotex”). If the moving party fails to carry its initial

5    burden of production, “the nonmoving party has no obligation to produce anything.” Nissan Fire

6    & Marine Ins. Co., Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102-03 (9th Cir. 2000).

7           If the moving party has sustained its burden, the burden then shifts to the nonmovant to

8    identify specific facts, drawn from materials in the file, that demonstrate that there is a dispute as

9    to material facts on the elements that the moving party has contested. See Celotex, 477 U.S. at

10   324, 106 S.Ct. at 2553; Anderson, 477 U.S. at 256, 106 S.Ct. at 2514 (holding that a party

11   opposing a properly supported motion for summary judgment “must set forth specific facts

12   showing that there is a genuine issue for trial.”).3 A factual dispute is material only if it affects the

13   outcome of the litigation and requires a trial to resolve the parties’ differing versions of the truth.

14   SEC v. Seaboard Corp., 677 F.2d 1301, 1306 (9th Cir. 1982). Summary judgment must be

15   granted for the moving party if the nonmoving party “fails to make a showing sufficient to establish

16   the existence of an element essential to that party’s case, and on which that party will bear the

17   burden of proof at trial.” Celotex, 477 U.S. at 322, 106 S.Ct. at 2552; see Anderson, 477 U.S. at

18   252, 106 S.Ct. at 2512 (parties bear the same substantive burden of proof as would apply at a

19   trial on the merits).

20          In determining whether a triable issue of material fact exists, the evidence must be

21   considered in the light most favorable to the nonmoving party. See Barlow v. Ground, 943 F.2d

22   1132, 1134 (9th Cir. 1991), cert. denied, 505 U.S. 1206 (1992). However, summary judgment

23   cannot be avoided by relying solely on “conclusory allegations [in] an affidavit.” Lujan v. Nat’l

24   Wildlife Fed’n, 497 U.S. 871, 888, 110 S.Ct. 3177, 3188 (1990); see also Matsushita Elec. Indus.

25
        3
26        “In determining any motion for summary judgment or partial summary judgment, the Court
     may assume that the material facts as claimed and adequately supported by the moving party are
27   admitted to exist without controversy except to the extent that such material facts are (a) included
     in the ‘Statement of Genuine Disputes’ and (b) controverted by declaration or other written
28   evidence filed in opposition to the motion.” Local Rule 56-3.

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 6 of 11 Page ID #:1798



1    Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S.Ct. 1348, 1356 (1986) (more than a

2    “metaphysical doubt” is required to establish a genuine issue of material fact). “The mere

3    existence of a scintilla of evidence in support of the plaintiff’s position” is insufficient to survive

4    summary judgment; “there must be evidence on which the [fact finder] could reasonably find for

5    the plaintiff.” Anderson, 477 U.S. at 252, 106 S.Ct. at 2512.

6                                               DISCUSSION

7    I.       FDCPA.

8             Both parties seek partial summary judgment as to plaintiff’s FDCPA claim. (See Dkt. 53-1,

9    Joint Memorandum of Point and Authorities (“Joint Br.”) at 19-26, 41-46). Plaintiff contends that

10   Norwalk falls within the limited-purpose definition of debt collector,4 (See id. at 21-22), and that

11   defendant has violated § 1692f(6) because it “continued to maintain possession of Washington’s

12   vehicle despite knowledge that Norwalk was in possession of Washington’s vehicle without a valid

13   security interest.” (Id. at 24). Defendant responds that it was not a debt collector under any

14   definition because the FDCPA excludes creditors who are collecting their own debts. (See id. at

15   20-21 & 41-42).

16            The FDCPA prohibits “debt collectors” from engaging in various unlawful debt collection

17   practices. See 15 U.S.C. § 1692e. A “debt” is defined as “any obligation or alleged obligation of

18   a consumer to pay money arising out of a transaction in which the money, property, insurance,

19   or services which are the subject of the transaction are primarily for personal, family, or household

20   purposes, whether or not such obligation has been reduced to judgment.” 15 U.S.C. § 1692a(5).

21   A “debt collector” is generally defined as (1) “any person who [engages] in any business the

22   principal purpose of which is the collection of any debts,” or (2) “who regularly collects or attempts

23   to collect, directly or indirectly, debts owed or due or asserted to be owed or due another.” 15

24   U.S.C. §1692a(6); Schlegel v. Wells Fargo Bank, NA, 720 F.3d 1204, 1208 (9th Cir. 2013). The

25   FDCPA also contains a more limited definition (“limited-purpose definition”) of debt collector,

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         Plaintiff also contends in summary fashion that Norwalk is a debt collector under the debts
28   owed another definition. (See Dkt. 22, Joint Br. at 22).

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 7 of 11 Page ID #:1799



1    providing that “[f]or the purpose of section 1692f(6) [a debt collector] also includes any person

2    who uses any instrumentality of interstate commerce or the mails in any business the principle

3    purpose of which is the enforcement of security interests.”5 15 U.S.C. § 1692a(6); Obduskey v.

4    McCarthy & Holthus LLP, 139 S.Ct. 1029 (2019). The FDCPA provides that the term “debt

5    collector” “does not include” “any person collecting or attempting to collect any debt . . . to the

6    extent such activity . . . concerns a debt which was originated by such person[.]” 15 U.S.C. §

7    1692a(6)(F)(ii); Afewerki v. Anaya Law Group, 868 F.3d 771, 774 n. 1 (9th Cir. 2017) (“Under the

8    FDCPA, a creditor collecting debts on its own behalf is not a ‘debt collector.’”).

9               Here, defendant has produced uncontroverted evidence that it was seeking collection of

10   storage fees it claimed plaintiff owed defendant as a result of having the vehicle stored for 695

11   days.       (See Dkt. 53-8, SUF at ¶¶ 20-24; Dkt. 56-1, SGD at ¶¶ 26-28, 38-40; Dkt. 53-2,

12   Washington Decl. at ¶ 12 (“Mr. Aker[] attempted to collect storage fees from me regarding my

13   vehicle during the March 12, 2018 call.”); Dkt. 53-2, Aker Decl. at ¶¶ 9, 11-13; see also Dkt. 53-6,

14   Exh. 11, February 28, 2018, Email). In other words, the evidence is undisputed that defendant

15   was a creditor, not a debt collector. As such, the FDCPA does not apply.

16              Plaintiff, relying primarily on Dowers v. Nationstar Mortgage, LLC, 852 F.3d 964, 970 (9th

17   Cir. 2017), resists this conclusion. (See Dkt. 53-1, Joint Br. at 21-22; Dkt. 56, Plaintiff[’s]

18   Opposition to [] Cross-Motion for Summary Judgment or Alternatively, Partial Summary Judgment

19   (“Plf. Opp.”) at 3-4). The court in Dowers, dealing with a nonjudicial foreclosure, held that

20   defendants were not debt collectors under the first two prongs of the “debt collector” definition,

21   but were under the limited-purpose definition, 852 F.3d at 969, and thus, only § 1692f(6) of the

22   FDCPA was applicable.6 Id. at 970-71. The Dowers court was not addressing the issue

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24          5
            Section 1692f(6) prohibits “[t]aking or threatening to take any nonjudicial action to effect
25   dispossession or disablement of property if - (A) there is no present right to possession of the
     property claimed as collateral through an enforceable security interest; (B) there is no present
26   intention to take possession of the property; or (C) the property is exempt by law from such
     dispossession or disablement.”
27
        6
         The Supreme Court recently clarified that the security enforcement definition “places those
28   whose ‘principal purpose . . . is the enforcement of security interests’ outside the scope of the

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 8 of 11 Page ID #:1800



1    presented here, i.e., a defendant collecting its own debts. Under the circumstances here,

2    Norwalk is not a debt collector within the meaning of the FDCPA. See 15 U.S.C. § 1692a(6)

3    (excluding certain persons from the definition of debt collector).

4              Defendant also contends that plaintiff’s FDCPA claim is barred by the one-year statute of

5    limitations.7 (See Dkt. 53-1, Joint Br. at 45); 15 U.S.C. § 1692k(d). In connection with the 2016

6    Action, City Title produced a letter on October 13, 2016, showing that plaintiff’s vehicle was

7    delivered to Norwalk on April 4, 2016. (Dkt. 56-1, SGD at ¶¶ 33-34; Dkt. 53-7, Exh. 16, April 4,

8    2016 Letter (City Title letter directing All American Recovery to “release the vehicle . . . to

9    Norwark”). Thus, as of October 13, 2016, plaintiff, who was represented by the same counsel

10   representing him in this action, was aware that his vehicle was stored at Norwalk. Yet, plaintiff

11   did not file the instant action until March 1, 2018, more than 16 months ago.

12             Plaintiff asserts that the one-year statute of limitations does not bar his FDCPA claim

13   because, under the continuing violation doctrine,8 each of defendant’s attempts to collect “a

14   fraudulent debt” from plaintiff was a separate violation of the FDCPA. (See Dkt. 56, Plf. Opp at

15   5-7). But in arguing that Norwalk is a “debt collector” under the limited-purpose definition of debt

16   collector, subject to § 1692f(6) of the FDCPA, plaintiff argues that his FDCPA claim is based on

17   Norwalk’s possession of the vehicle. (See Dkt. 53-1, Joint Br. at 25) (contending that “[d]espite

18   Washington’s dispute and this Court’s Order, Norwalk continued to effect dispossession of

19
     primary ‘debt collector’ definition, § 1692a, where the business is engaged in no more than the
20   kind of security-interest enforcement at issue” in that case – “nonjudicial foreclosure proceedings.”
21   Obduskey, 139 S.Ct. at 1033. The Supreme Court held that “but for § 1692f(6), those who
     engage in only nonjudicial foreclosure proceedings are not debt collectors within the meaning of
22   the [FDCPA].” Id. at 1038.
       7
23        Plaintiff objects to defendant’s cross-motion as untimely and for failure to properly meet and
     confer. (See Dkt. 53-1, Joint Br. at 45-46; Dkt. 55, Plaintiff[’s] Objection to [] Cross-Motion for
24   Summary Judgment or Alternatively Partial Summary Judgment). However, the accounts of the
25   parties’ meet and confer differ and, in any event, plaintiff was not prejudiced as he was able to
     provide a response to defendant’s cross-motion and did so. (See Dkt. 56, Plf. Opp).
26         8
           Under the continuing violation doctrine, “which district courts have applied in the FDCPA
27   context, a plaintiff may recover for actions that take place outside the limitations period if these
     actions are sufficiently linked to unlawful conduct within the limitations period.” Muzyka v. Rash
28   Curtis & Associates, 2019 WL 2869114, *6 (E.D. Cal. 2019) (internal quotation marks omitted).

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 Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 9 of 11 Page ID #:1801



1    Washington’s vehicle until April 11, 2018[,]” which violated § 1692f(6)); id. at 24 (contending

2    Norwalk violated § 1692f(6) “because [it] continued to maintain possession of Washington’s

3    vehicle despite knowledge that Norwalk was in possession of Washington’s vehicle without a valid

4    security interest”); Dkt. 56, Plf. Opp. at 4 (“Washington’s FDCPA violations against Norwalk are

5    solely premised upon Norwalk’s violation of . . . § 1692f(6).”). However, taking plaintiff’s

6    argument at face value means that defendant is not a debt collector within the meaning of the

7    limited purpose definition of the FDCPA. See 15 U.S.C. § 1692a(6)(F)(ii); Afewerki, 868 F.3d at

8    774 n. 1 (“Under the FDCPA, a creditor collecting debts on its own behalf is not a ‘debt

9    collector.’”). In other words, plaintiff, in effect, concedes that defendant was simply collecting its

10   own debt by arguing that Norwalk’s attempts to collect the storage fees – rather than possession

11   of the vehicle in violation of § 1692f(6)9 – is sufficient to resist defendant’s statute of limitations

12   argument under the continuing violation doctrine. (See Dkt. 56, Opp at 6-8) (“Norwalk’s continued

13   collection activity in 2018 as well as Norwalk’s counterclaim against Washington for the debt . .

14   . all constitute collection activity within the Statue of Limitations”).

15             In short, to the extent plaintiff argues that the continuing violation doctrine applies based

16   on the Norwalk’s continued “collection activity,” it does not save plaintiff’s FDCPA claim since as

17   discussed above, Norwalk was a creditor collecting its own debt, and thus was not a debt collector

18   as defined by the FDCPA.

19   II.       STATE LAW CLAIMS.

20             “[I]n any civil action of which the district courts have original jurisdiction, the district courts

21   shall have supplemental jurisdiction over all other claims that are so related to claims in the action

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           9
23         The court notes that in plaintiff’s motion for default judgment in the 2016 Action, which was
     filed on December 26, 2017, just days before plaintiff sent his Dispute Letter to Norwalk, plaintiff
24   represented to the court that City Title continued to possess his vehicle, even though plaintiff
     knew, as of October, 2016, that Norwalk had possession of the vehicle. (See Washington I, Dkt.
25
     103-1, Memorandum of Point and Authorities in Support of Plaintiff’s Motion for Default Judgment
26   at 8 (“Today, almost two years after the wrongful repossession, Defendant [City Title] is still in
     possession of Plaintiff’s vehicle. Therefore, Plaintiff is entitled to a full award of $30,000 under”
27   CITA.) (emphasis in original); see also id. at 9). Based in part on plaintiff’s misrepresentation to
     the court, the court granted plaintiff the “full $30,000 in civil penalties provided under the CITA.”
28   (Washington I, Dkt. 109, Court’s Order of February 26, 2018, at 10).

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Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 10 of 11 Page ID #:1802



1    within such original jurisdiction that they form part of the same case or controversy under Article

2    III of the United States Constitution.” 28 U.S.C. § 1367(a). However, the power to exercise

3    supplemental jurisdiction is within the court’s discretion. See United Mine Workers of Am. v.

4    Gibbs, 383 U.S. 715, 726, 86 S.Ct. 1130, 1139 (1966) (“It has consistently been recognized that

5    pendent jurisdiction is a doctrine of discretion, not of plaintiff’s right.”). The court “may decline to

6    exercise supplemental jurisdiction over a claim under subsection (a) if . . . the district court has

7    dismissed all claims over which it has original jurisdiction[.]” 28 U.S.C. § 1367(c)(3); see Gibbs,

8    383 U.S. at 726, 86 S.Ct. at 1139 (“Certainly, if the federal claims are dismissed before trial, even

9    though not insubstantial in a jurisdictional sense, the state claims should be dismissed as well.”);

10   Acri v. Varian Assocs., Inc., 114 F.3d 999, 1001 (9th Cir. 1997) (en banc) (“The Supreme Court

11   has stated, and we have often repeated, that ‘in the usual case in which all federal-law claims are

12   eliminated before trial, the balance of factors . . . will point toward declining to exercise jurisdiction

13   over the remaining state-law claims.’”) (quoting Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350

14   n. 7, 108 S.Ct. 614, 619 n. 7 (1988)). Unless the court is persuaded by “considerations of judicial

15   economy, convenience and fairness to litigants,” it must “hesitate to exercise jurisdiction over state

16   claims[.]” Gibbs, 383 U.S. at 726, 86 S.Ct. at 1139.

17          Here, the court’s determination that plaintiff’s FDCPA claim fails as a matter of law means

18   there are no remaining federal claims. Additionally, there is no basis for diversity jurisdiction since

19   plaintiff and defendant are both California citizens. (See Dkt. 15, FAC at ¶ 18; Dkt. 53-2, Corbett

20   Decl. at ¶ 3). Under the circumstances, the court declines to exercise supplemental jurisdiction

21   over plaintiff’s state-law claims and will dismiss those claims without prejudice. For similar

22   reasons, defendant’s counterclaim for declaratory relief is dismissed without prejudice.

23                                               CONCLUSION

24          Based on the foregoing, IT IS ORDERED THAT:

25          1. Defendant’s Cross-Motion for Summary Judgment or Partial Summary Judgment

26   (Document No. 54) is granted in part and denied in part. The motion is granted as to the

27   FDCPA claim.

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Case 2:18-cv-01770-FMO-AFM Document 96 Filed 09/16/19 Page 11 of 11 Page ID #:1803



1          2. Plaintiff’s remaining state law claims and defendant’s counterclaim for declaratory relief

2    are dismissed without prejudice.

3          3. Plaintiff’s Motion for Summary Judgment or Alternatively Partial Summary Judgment

4    (Document No. 53) is denied.

5          4. Judgment shall be entered accordingly.

6    Dated this 16th day of September, 2019.

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8                                                                      /s/
                                                                 Fernando M. Olguin
9                                                             United States District Judge

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